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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,                       No. 4:17-CR-00403

                                                (Judge Brann)
     v.

RAYMOND KRAYNAK,

           Defendant.


                                    ORDER

                                AUGUST 21, 2018

  1. On August 3, 2018, Defendant Raymond Kraynak submitted an updated

     Financial Affidavit. ECF No. 32.

  2. On the basis of this Financial Affidavit, the Court finds that Mr. Kraynak is

     financially unable to obtain counsel, and is not waiving the right to counsel.

  3. Therefore, IT IS HEREBY ORDERED that the Office of the Federal

     Public Defender, Thomas A. Thornton, Esquire, 100 Chestnut Street, Suite

     306, Harrisburg, PA 17101, is appointed to represent Mr. Kraynak in all

     matters pertaining to the above-captioned case. However, if the Court later

     finds that Mr. Kraynak is financially able to obtain counsel, or is able to

     make partial payment for the representation, the Court may terminate the
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appointment of Mr. Thornton or authorize payment as provided in 18 U.S.C.

§ 3006A(f).

                                    BY THE COURT:


                                    s/ Matthew W. Brann
                                    Matthew W. Brann
                                    United States District Judge
